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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    JOHN JOSEPH SIXTA,                       Case No. 5:19-cv-00332-VAP-MAA
 12                       Petitioner,           ORDER ACCEPTING FINDINGS
 13          v.                                 AND RECOMMENDATIONS OF
                                                UNITED STATES MAGISTRATE
 14    PEOPLE OF THE STATE OF                   JUDGE
 15    CALIFORNIA,

 16                       Respondent.
 17
 18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other
 19   records on file herein, and the Report and Recommendation of the United States
 20   Magistrate Judge.
 21         The Court also has reviewed Petitioner’s objection to the Report and
 22   Recommendation. (“Objection,” ECF No. 15.) As required by Federal Rule of
 23   Civil Procedure 72(b)(3), the Court has engaged in de novo review of the portions
 24   of the Report and Recommendation to which Petitioner specifically has objected.
 25   The Court concurs with and accepts the findings, conclusions, and
 26   recommendations of the United States Magistrate Judge, and overrules the
 27   Objection.
 28   ///
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  1         IT IS THEREFORE ORDERED that (1) the Report and Recommendation of
  2   the Magistrate Judge is accepted and adopted; and (2) Judgment shall be entered
  3   denying the Petition and dismissing this action without prejudice.
  4
  5   DATED: August 6, 2019
  6                                   ______________________________________
  7                                   VIRGINIA A. PHILLIPS
                                      CHIEF UNITED STATES DISTRICT JUDGE
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